                     IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE

  MARK DEW,                                      )
                                                 )
         Plaintiff,                              )
                                                 )       No. 3:11-cv-262
  v.                                             )
                                                 )
  REBECCA ASHFORD, et al,                        )
                                                 )
         Defendants.                             )

  ___________________________________________________________________________

                           STIPULATION OF DISMISSAL
  ___________________________________________________________________________


         Come now the parties to the above referenced lawsuit, pursuant to Federal Rule of Civil

  Procedure 41, and stipulate to the dismissal of this case with prejudice as the case has been settled to

  the satisfaction of all parties. Each party agrees to bear and assume its own costs.

         Done this the            day of                                 , 2013.




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Case 3:11-cv-00262-TWP-CCS Document 13 Filed 06/07/13 Page 1 of 2 PageID #: 174
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Case 3:11-cv-00262-TWP-CCS Document 13 Filed 06/07/13 Page 2 of 2 PageID #: 175
